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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TENNESSEE
                                  MEMPHIS DIVISION

XAVIER FLEMMING,

     Plaintiff,                                      CASE NO.:

v.

ALLY FINANCIAL, INC.,

     Defendant.
                                       /

                       COMPLAINT AND DEMAND FOR JURY TRIAL

          COMES NOW, Plaintiff, XAVIER FLEMMING, by and through the undersigned

counsel, and sues Defendant, ALLY FINANCIAL, INC., and in support thereof respectfully

alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                           INTRODUCTION

           1.     The TCPA was enacted to prevent companies like ALLY FINANCIAL, INC.

from invading American citizen’s privacy and to prevent abusive “robo-calls.”

           2.     “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

           3.     “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at

night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give

telephone subscribers another option: telling the autodialers to simply stop calling.” Osorio v.

State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).



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       4.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                                 JURISDICTION AND VENUE

        5.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

        6.     Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014).

       7.      The alleged violations described herein occurred in Shelby County, Tennessee.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                   FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Tennessee, residing in

Shelby County, Tennessee.




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       9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       10.     Defendant is a corporation which was formed in Delaware with its principal place

of business located at 500 Woodward Avenue and which conducts business in the State of

Tennessee through its registered agent, C T Corporation System, located at 300 Montvue Road,

Knoxville, Tennessee 37919.

       11.     Defendant called Plaintiff approximately one hundred and fifty (150) times in an

attempt to collect an alleged debt.

       12.     Upon information and belief, some or all of the calls Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

“autodialer calls”). Plaintiff will testify that his knew it was an autodialer because of the vast

number of calls he received and because he heard a pause when he answered his phone before a

voice came on the line and he received prerecorded messages from Defendant.

       13.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (901) ***-9447 and was the called party and recipient of Defendant’s calls.

       14.     Defendant placed an exorbitant number of automated calls and automated texts to

Plaintiff’s cellular telephone (901) ***-9447 in an attempt to collect on an alleged debt.

       15.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to, the following telephone numbers: (888) 925-2559;

(501) 821-8353; (866) 891-8876; (866) 205-3665; (888) 282-3139 and (855) 306-6998.


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        16.    On several occasions over the last four (4) years, Plaintiff instructed Defendant’s

agent(s) to stop calling his cellular telephone.

        17.    In or about October of 2017, Plaintiff answered a call from Defendant to his

aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

Defendant and informed the agent/representative that the calls to his cellular telephone were

harassing and demanded that they cease calling is cellular telephone number.

        18.    Each subsequent call Defendant made to Plaintiff’s aforementioned cellular

telephone number was knowing and willful and done so without the “express consent” of

Plaintiff.

        19.    Despite clearly and unequivocally revoking any consent Defendant may have

believed they had to call Plaintiff on his cellular telephone, Defendant continues to place

automated calls to Plaintiff.

        20.    Again or about November of 2017, Plaintiff answered an automated call from

Defendant to his cellular telephone. Plaintiff again demanded a cessation of calls to his cellular

telephone from Defendant to the agent/representative of Defendant on the line.

        21.    Due to the constant barrage of telephone calls, Plaintiff again answered a call

from Defendant in or about January of 2018. Plaintiff yet again demanded a cessation of calls to

his cellular telephone from Defendant to the agent/representative of Defendant on the line

        22.    Plaintiff’s numerous conversations with Defendant’s agent(s)/representative(s)

over the telephone wherein he demanded a cessation of calls were in vain as Defendant continues

to bombard him with automated calls unabated.




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        23.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

        24.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s cellular telephone in

this case.

        25.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular telephone in this case,

with no way for the consumer, or Defendant, to remove the number.

        26.     Defendant’s corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

        27.     Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

        28.     Defendant has numerous complaints against it across the country asserting that its

automatic telephone dialing system continues to call despite being requested to stop.

        29.     Defendant has had numerous complaints against it from consumers across the

country asking to not be called, however Defendant continues to call these individuals.

        30.     Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff’s

number removed from Defendant call list.

        31.     Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

        32.     Not one of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).


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        33.     Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

        34.     From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon

his right of seclusion.

        35.     From each and every call without express consent placed by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of his cellular telephone line

and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or

outgoing calls while the phone was ringing from Defendant’s call.

        36.     From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time. For

calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for the

calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

with missed call notifications and call logs that reflect the unwanted calls. This also impaired the

usefulness of these features of Plaintiff’s cellular phone, which are designed to inform the user of

important missed communications.

        37.     Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that

were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the phone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

these features of Plaintiff’s cellular phone, which are designed to inform the user of important

missed communications.




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         38.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery

power.

         39.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone where a voice message was left which occupied space in Plaintiff’s phone or network.

         40.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular phone and

his cellular phone services.

         41.    As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress, anxiety and

embarrassment.

                                            COUNT I
                                     (Violation of the TCPA)

         42.    Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-one

(41) as if fully set forth herein.

         43.    Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that Plaintiff wished for the calls to stop

         44.    Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against ALLY FINANCIAL, INC. for statutory damages, punitive damages, actual

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damages, treble damages, enjoinder from further violations of these parts and any other such

relief the court may deem just and proper.

                                             Respectfully submitted,

                                             /s/ Frank H. Kerney, III
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